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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

In re:                                         )
                                               )
JOE JULIAN GREEN and                           )         Case No. 18-12915-KHK
GERALDINE SUSAN GREEN,                         )         Chapter 7
  aka Geraldine Susan Hanold                   )
  aka Geraldine Susan Biris                    )
                                               )
         Debtors.                              )

NEW RESIDENTIAL MORTGAGE                       )
LOAN TRUST 2016-2                              )
                                               )
         Movant,                               )
                                               )
v.                                             )
                                               )
JOE JULIAN GREEN and                           )
GERALDINE SUSAN GREEN                          )
  aka Geraldine Susan Hanold                   )
  aka Geraldine Susan Biris                    )
                                               )
and                                            )
                                               )
DONALD F. KING, TRUSTEE                        )
                                               )
         Respondents.                          )

                                          ANSWER

         DONALD F. KING, TRUSTEE (the “Trustee”), by counsel, files his Answer to the Motion

for Relief From the Automatic Stay (the “Motion”) filed by New Residential Mortgage Loan

Trust 2016-2 (“Movant”) in the above referenced case for the property located at 5400 Antioch

Ridge Dr., Haymarket, VA 20169 (the “Property”), and states as follows:

         1.    The Trustee admits the allegations contained in Paragraphs 1, 2, and 3.



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Counsel for the Trustee
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       2.     The Trustee, lacking sufficient knowledge of the allegations contained in

Paragraphs 4, 5, 6, and 7 of the Motion, neither admits nor denies such allegations and

requires proof thereof.

       3.     The Trustee admits the allegation in Paragraph 8 that there are multiple deeds

of trust encumbering the Property but denies the allegation that there is not equity in the

Property.

       4.     The Trustee denies the allegations contained in Paragraphs 9 and 10 of the

Motion.

                                   AFFIRMATIVE DEFENSE

       Assuming, without admitting, that Movant’s allegations in the Motion are correct, there

is a significant equity cushion protecting Movant’s alleged interest in the Property. Movant

does not include any allegations regarding the current amount it is owed under its mortgage

and deed of trust. But the allonge to its note indicates the original loan amount was only

$465,000 and the Motion claims that the Debtors are only three months behind. See Dkt. No.

12 at 4; Dkt. No. 12-1 at 23. According to the Debtors, the first mortgage is only $346,285.00.

Dkt. No. 1 at 22. So there appears to be substantial equity. The Trustee is actively working to

sell the Property and has received an estimate that the Property is worth about $700,000.00.

The Property is thus worth significantly more than the amount necessary to pay Movant.

       Moreover, if the Property is sold, the Movant’s debt will be paid in full from any sale of

the Property by the Trustee or on terms that are agreeable to the Movant. As a result, the

Trustee believes that Movant’s alleged interests are adequately protected by the equity cushion

in the Property.

       WHEREFORE, Donald F. King, Trustee, by counsel, requests that this Court enter an

order denying Movant’s Motion for Relief from the Automatic Stay.




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                                           DONALD F. KING, TRUSTEE
                                           By Counsel


By:           /s/ Bradley Jones
        Bradley Jones (VSB No. 85095)
        Counsel for Trustee
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and accurate copy of the Answer was sent via Notice
of Electronic Filing upon counsel for Movant, counsel for Debtor, and all registered users in
this case pursuant to this Court’s CM/ECF policy.



                                          /s/ Bradley Jones
                                           Bradley Jones




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